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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

ERIC CERVINI, WENDY DAVIS, DAVID                     §
GINS, TIMOTHY HOLLOWAY,                              §
                                                     §
                Plaintiffs,                          §
                                                     §
v.                                                   §                    1:21-CV-565-RP
                                                     §
ELIAZAR CISNEROS, HANNAH CEH,                        §
JOEYLYNN MESAROS, ROBERT                             §
MESAROS, and DOLORES PARK,                           §
                                                     §
                Defendants.                          §

                                                ORDER

        Before the Court is Plaintiffs’ Motion to Amend/Correct the Scheduling Order, (Dkt. 88),

and Defendant Dolores Park’s (“Park”) Response in Opposition, (Dkt. 93). Plaintiffs argue that the

initial scheduling order entered in this case is out of date. (Dkt. 88, at 4). Park argues that the Court

should not enter a new scheduling order until the Court rules on the motions for interlocutory

appeal. (Dkt. 93, at 1). The Court entered an order denying the motions for interlocutory appeal on

August 19, 2022. (Dkt. 100). Accordingly, the Court will order the parties in the present case and the

parties in Cervini v. Stapp, 1:21-cv-568, to file a joint proposed scheduling order.

        Therefore, IT IS ORDERED that Plaintiffs’ motion, (Dkt. 88), is GRANTED. The

parties shall consult the website for the United States District Court for the Western District of

Texas (www.txwd.uscourts.gov), the “Judges’ Info” tab, “Standing Orders,” “Austin Division,” and

submit a joint proposed scheduling order with the parties in Stapp on or before September 16, 2022.


 Signed on August 19, 2022

                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
